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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                READING DIVISION

 In re:
                                                          Bankruptcy No. 23-11001-pmm
 Grace A. Greer,
           Debtor                                         Chapter 13

 WILMINGTON SAVINGS FUND SOCIETY, FSB,
 D/B/A CHRISTIANA TRUST,
 NOTINDIVIDUALLY BUT AS TRUSTEE FOR
 PRETIUM MORTGAGE ACQUISITION TRUST
      Movant
 v.
 Grace A. Greer
           Debtor/Respondent
 Michael D. Greer
           Co-Debtor/ Respondent
 Scott F. Waterman, Esquire
           Trustee/Respondent




                                         ORDER OF COURT

          AND NOW, upon consideration of WILMINGTON SAVINGS FUND SOCIETY, FSB,

D/B/A CHRISTIANA TRUST, NOTINDIVIDUALLY BUT AS TRUSTEE FOR PRETIUM

MORTGAGE ACQUISITION TRUST’s Motion for Relief from Automatic Stay, pursuant to 11

U.S.C. § 362(d) and 11 U.S.C. § 1301, any response thereto and that it is not necessary for an

effective reorganization, it is hereby

          ORDERED, that the automatic stay provisions of Section 362 of the Bankruptcy Code are
                           modified
hereby unconditionally terminated with respect to WILMINGTON SAVINGS FUND SOCIETY,



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FSB, D/B/A CHRISTIANA TRUST, NOTINDIVIDUALLY BUT AS TRUSTEE FOR

PRETIUM MORTGAGE ACQUISITION TRUST; and it is further

       ORDERED, that WILMINGTON SAVINGS FUND SOCIETY, FSB, D/B/A

CHRISTIANA TRUST, NOTINDIVIDUALLY BUT AS TRUSTEE FOR PRETIUM

MORTGAGE ACQUISITION TRUST, its successors and/or assignees be entitled to proceed with

appropriate state court remedies against the property located at 4807 Wentzel Ave, Temple, PA

19560, including without limitation a sheriff’s sale of the property, and it is further



       ORDERED that WILMINGTON SAVINGS                         FUND SOCIETY, FSB, D/B/A

CHRISTIANA TRUST, NOTINDIVIDUALLY BUT AS TRUSTEE FOR PRETIUM

MORTGAGE ACQUISITION TRUST’s request to waive the 14-day stay period pursuant to

Fed.R.Bankr.P. 4001(a)(3) is granted.



                                                               BY THE COURT


    Date: February 23, 2024
                                                               ______________________________
                                                               Hon. Patricia M. Mayer
                                                               U.S. Bankruptcy Court Judge




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